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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                   NORTHERN DIVISION

DEANN WALTER,                                  )
5138 Dartmoor Place,                           )
Frederick, Maryland 21703,                     )
an individual,                                 )       Case No.:
                                               )
             Plaintiff,                        )
                                               )
v.                                             )
                                               )
DISCOVERY HOLDINGS, LLC,                       )
8415 Woodsboro Pike,                           )
Walkersville, Maryland 21793,                  )
a Maryland Limited Liability Company,          )
                                               )
             Defendant.                        )

                                         COMPLAINT

       Plaintiff, DEANN WALTER (“MS. WALTER”), an individual, by and through her

undersigned counsel, hereby files this Complaint and sues the Defendant, DISCOVERY

HOLDINGS, LLC, a Maryland Limited Liability Company, for injunctive relief, attorneys’ fees

and costs pursuant to 42 U.S.C. §§ 12181 et seq., (“Americans with Disabilities Act” or “ADA”)

and states as follows:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and Rule 501,

Local Rules of the United States District Court for the District of Maryland.

       3.      MS. WALTER is a resident of the State of Maryland.

       4.      MS. WALTER suffers from Multiple Sclerosis (MS) and is disabled. MS.
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WALTER’s disability, at all times material hereto, impairs her ability to walk, a major life

activity, and requires her to use a scooter and/or cane to ambulate safely1.

           5.       Due to her disability, MS. WALTER is substantially impaired in several major

life activities.

           6.       The Defendant, DISCOVERY HOLDINGS, LLC (hereinafter referred to as

“Defendant”), is a Maryland Limited Liability Company. Upon reasonable belief, Defendant is

the record owner, leasor, and/or operator of the place of public accommodation including the real

property and improvements which are the subject of this action, to wit: “the Property,” known as

Discovery Crossing Shopping Center, located generally at 8425 Woodsboro Pike, Walkersville,

Maryland 21793. The Defendant is responsible for complying with the obligations of the ADA.

           7.       All events giving rise to this lawsuit occurred in the District of Maryland.

                                            COUNT I
                               (VIOLATION OF TITLE III OF THE ADA)

           8.       The allegations set forth in the foregoing paragraphs are incorporated by reference

as if fully set forth herein.

           9.       The Property, a shopping center, is a place of public accommodation, subject to

the ADA, generally located at 8425 Woodsboro Pike, Walkersville, Maryland 21793.

           10.      MS. WALTER has visited the Property and plans to return to the Property in the

near future.

           11.      During her visits, MS. WALTER experienced serious difficulty accessing the

goods and utilizing the services at the Property due to the architectural barriers discussed herein.

           12.      MS. WALTER continues to desire to visit the Property, but fears that she will


1
    MS. WALTER is capable of walking short distances without the help of aid scooter.

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encounter serious difficulty due to the barriers discussed herein which still exist.

       13.       MS. WALTER plans to and will visit the Property in the near future to utilize the

goods and services offered thereon.

       14.      Defendant has discriminated and continues to discriminate against MS. WALTER

in violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.302 et seq. by excluding and/or

denying MS. WALTER the benefits of the goods and services located on the Property by failing

to provide and/or correct, inter alia, the following barriers to access which were personally

observed and encountered by MS. WALTER, and which hindered her access:

             A. Plaintiff encountered inaccessible parking designated as accessible due to a

                lack of access aisles;

             B. Plaintiff encountered inaccessible parking due to a lack of signage

                designating accessible parking spaces;

             C. Plaintiff encountered inaccessible parking due to poles improperly placed in

                the parking spaces designated as accessible;

             D. Plaintiff encountered inaccessible parking due to a fire hydrant improperly

                placed in a parking space designated as accessible;

             E. Plaintiff encountered inaccessible parking designated as accessible due to

                pavement in disrepair;

             F. Plaintiff encountered an inaccessible ramp due to steep side flares;

             G. Plaintiff encountered an inaccessible ramp due to excessively steep slopes

                near Sam’s Barber Shop;



                                                  3
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             H. Plaintiff encountered an inaccessible route due to excessive cross slopes

                near Paty Cleaners; and

             I. Plaintiff encountered an inaccessible route due to excessive slopes without

                proper handrails near Sam’s Barber Shop.

       15.      To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.      Independent of her intent to return as a patron of the Property, MS. WALTER

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       17.      Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.

       18.      Removal of the barriers to access located on the Property would allow MS.

WALTER to fully utilize the goods and services located therein.

       19.      MS. WALTER has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. MS. WALTER is entitled to have her reasonable attorneys’ fees,

costs, and expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                    PRAYER FOR RELIEF

       WHEREFORE, MS. WALTER demands judgment against Defendant and requests the

following injunctive and declaratory relief:

                    A. That the Court declare that the Property owned, administered


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         and/or operated by Defendant is in violation of the ADA;

      B. That the Court enter an Order directing Defendant to alter its

         facilities to make them accessible to and useable by individuals

         with disabilities to the full extent required by Title III of the ADA;

      C. That the Court enter an Order directing Defendant to evaluate and

         neutralize its policies and procedures towards persons with

         disabilities and to undertake and complete corrective procedures to

         the full extent required by the Title III of the ADA;

      D. That the Court award reasonable attorneys’ fees, costs (including

         expert fees), and other expenses of suit, to MS. WALTER; and

      E. That the Court award such other and further relief as it deems

         necessary, just and proper.

                                Respectfully Submitted,


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